Case 17-09685       Doc 68    Filed 07/17/19 Entered 07/17/19 23:31:36            Desc Imaged
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                       UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
  In re:                                       )      Chapter 7
                                               )
  ZORKA IGNJATIC ACIMOVIC,                     )      Bankruptcy No. 17 B 09685
                                               )
                                               )
                             Debtor.           )      Honorable Jacqueline P. Cox

                                       NOTICE OF MOTION

  To:      Zorka Ignjatic Acimovic, 9458 Latrobe Ave., Skokie, IL 60077
           Ben L Schneider, Schneider & Stone, 8424 Skokie Boulevard, Suite 200, Skokie, IL 60077*
           United States Trustee Patrick S. Layng, Office of the United States Trustee, 219 South
           Dearborn Street, Suite 873, Chicago, IL 60604*

          PLEASE TAKE NOTICE that on Wednesday, July 31, 2019, at 10:00 a.m., we will
  appear before the Honorable Jacqueline P. Cox or such other Judge as may be presiding in that
  Judge’s stead, in courtroom 680, Everett McKinley Dirksen United States Courthouse, 219 South
  Dearborn Street, Chicago, IL 60604, and present our Trustee’s Motion to Dismiss Pursuant to
  Local Rule 2002-1 for Failure to Attend the 341 Meeting, a copy of which is attached hereto and
  served upon you herewith.


  Date: July 8, 2019                           DAVID P. LEIBOWITZ, not individually, but as
                                               the Chapter 7 Trustee of the Debtor’s Estate

                                               By:   /s/ David P. Leibowitz
                                                      David P. Leibowitz (ARDC # 1612271)
                                                      53 West Jackson Boulevard, Suite 1115
                                                      Chicago, IL 60604
                                                      (312) 360-1501
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                      UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
  In re:                                          )       Chapter 7
                                                  )
  ZORKA IGNJATIC ACIMOVIC,                        )       Bankruptcy No. 17 B 09685
                                                  )
                                                  )
                              Debtor.             )      Honorable Jacqueline P. Cox

      MOTION TO DISMISS DEBTOR WITH NOTICE UNDER LOCAL RULE 2002-1
                   FOR FAILURE TO ATTEND 341 MEETING

           David P. Leibowitz (“Trustee”), not individually but as the chapter 7 trustee of the estate of
  Zorka Ignjatic Acimovic (“Debtor”), moves this Court pursuant to 11 U.S.C. §707(a) and Local Rule
  2002-1 to dismiss this case for failure to appear at the meeting of creditors. In support, the Trustee
  states the following:
                                    JURISDICTION AND VENUE

           1.    This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334 and venue is

  proper pursuant to 28 U.S.C. § 1408.

           2.    By Local Rule 40.3.1(a) of the United States District Court for the Northern District

  of Illinois, the District Court has referred all bankruptcy cases to the Bankruptcy Court for initial

  determination, as permitted by 28 U.S.C. § 157(a).

           3.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

                          FACTUAL AND PROCEDURAL BACKGROUND

           4.    Debtor filed a voluntary chapter 13 petition on March 28, 2017. The case was

  converted to chapter 7 on June 7, 2019.

           5.    David P. Leibowitz is the duly appointed, qualified, and acting chapter 7 trustee in

  this case.

           6.    A meeting of creditors under § 341 of the Bankruptcy Code was scheduled to be

  held on July 3, 2019. Debtor received due notice of, but did not appear at, the meeting of creditors.
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                                         REQUESTED RELIEF

         7.     The Trustee requests that the Court dismiss Debtor’s Chapter 7 case for failure to

  appear at the meeting of creditors and that any discharge which may have inadvertently been granted

  be vacated.

                                BASIS FOR RELIEF REQUESTED

         8.     Under § 343 of the Bankruptcy Code, debtors are required to appear at the meeting

  of creditors held pursuant to § 341.

         9.     By reason of Debtor’s failure to appear at the meeting of creditors, Debtor’s case

  may be dismissed.

                                                NOTICE

         10.    The Trustee has filed a request for notice of hearing pursuant to Bankruptcy Rule

  2002(a)(4), providing for due notice of this motion to all creditors not less than twenty-one (21) days

  in advance of the hearing.

         WHEREFORE, DAVID P. LEIBOWITZ, Chapter 7 Trustee for the estate of Zorka
  Ignjatic Acimovic, requests that this Court dismiss Debtor’s Chapter 7 case for failure to appear at
  the meeting of creditors and that any discharge which may have inadvertently been granted be
  vacated.
                                                 DAVID P. LEIBOWITZ, not individually, but
                                                 solely as the chapter 7 trustee of the debtor’s
                                                 estate
                                                 By:        /s/ David P. Leibowitz
                                                         David P. Leibowitz (ARDC # 1612271)
                                                         53 West Jackson Boulevard, Suite 1115
                                                         Chicago, IL 60604
                                                         (312) 360-1501
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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 17-09685-JPC
Zorka Ignjatic Acimovic                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: mmiller                      Page 1 of 1                          Date Rcvd: Jul 15, 2019
                                      Form ID: pdf011                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 17, 2019.
db             +Zorka Ignjatic Acimovic,   9458 Latrobe Ave.,   Skokie, IL 60077-1112

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 17, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 8, 2019 at the address(es) listed below:
              Ben L Schneider   on behalf of Debtor 1 Zorka Ignjatic Acimovic ben@windycitylawgroup.com,
               mstone@windycitylawgroup.com;ebrandes@windycitylawgroup.com
              David P Leibowitz, ESQ   dleibowitz@lodpl.com,
               il64@ecfcbis.com;dl@trustesolutions.com;dl@trustesolutions.net;ECF@lodpl.com
              David P Leibowitz, ESQ   on behalf of Trustee David P Leibowitz, ESQ dleibowitz@lodpl.com,
               il64@ecfcbis.com;dl@trustesolutions.com;dl@trustesolutions.net;ECF@lodpl.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 4
